                  Case 3:06-cv-01301-DRD-JA Document 1 Filed 03/21/06 Page 1 of 6



                                            IN THE UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF PUERTO RICO



                  NELSON RODRIGUEZ FERNANDEZ;
             1    CARMEN LYDIA REXACH FELICIANO;                      CIVIL NO.
             I    MICHELLE RODRIGUEZ REXACH;
                  CRISTINA RODRIGUEZ REXACH                           IN ADMIRALTY
             I




             I                 Plaintiffs
             I
             I
                                   v.
     II                                                                                                                       ::U
                                                                                                                  0
                                                                                                                  en          :-n
     1/
                  HECTOR T. HOYOS ALIFF; MARIA E.                                                                              C)
     II                                                                                                                       0\
     II
                  LOPEZ AND THE COMMUNITY                                                              r'l        ~~
     II           PROPERTY PARTNERSHIP                                                       .L. z:;
                                                                                                --".         ..    t'''',,)
     IIj          CONSTITUTED BETWEEN HER AND
     I
     :I           HECTOR HOYOS; JULIO AVILA; JANE
     II           ROE AND THE COMMUNITY
     I       I
     Ii           PROPERTY PARTNERSHIP
     ii           CONSTITUTED BETWEEN HER AND
     II
                  JULIO AVILA; HOYOS, INC., JOHN DOE
     II
     :i           CORPORATION; ABC INSURANCE
     !i
     Ii           COMPANY; EFG INSURANCE
     i;           COMPANY; XYZINSURANCE
     ii           COMPANY
 Ii
 Ii                          Defendants
 II
 II
 , ,                                                         COMPLAINT

                 TO: THE HONORABLE COURT:
 II
 II
 /I                     COME NOW the plaintiffs, Nelson Rodriguez Fernandez and Carmen Lydia Rexach
 II
 i
         j
 !
         I
 II Feliciano, for themselves                 and in representation     of their minor children Michelle Rodriguez
 II
 Ii              Rexach and Cristina Rodriguez Rexach, through their undersigned attorneys, and
 iI
II
iI
                 complaining     of the defendants,   respectfully   allege, show and pray as follows:
Ii
II
Ii
:i                                                         JURISDICTION
II
II
I!
                        1.        This Court has jurisdiction over this action because it is a case of admiralty
II

                 and maritime jurisdiction under 28 U.S.C. §1333 and is an admiralty and maritime claim
[i;;
j'
Ii
 : jI
I!1
  Case 3:06-cv-01301-DRD-JA Document 1 Filed 03/21/06 Page 2 of 6



 within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure. This Court also

 has supplemental jurisdiction under 28 U.S.C. §1367 because there are claims which are

 so related to claims in the action within the original jurisdiction of this Court that they form

 part of the same case or controversy under Article III of the United States Constitution.

                                        THE PARTIES

        2.     Plaintiffs Nelson Rodriguez Fernandez and Carmen Lydia Rexach Feliciano

are married between them and are the father and mother of plaintiffs Michelle Rodriguez

Rexach and Cristina Rodriguez Rexach. All plaintiffs reside at Calle 2 A-4 Paseo Mayor,

Los Paseos, San Juan, Puerto Rico 00926. Plaintiffs Michelle and Cristina Rodriguez

Rexach are minors and, therefore, represented in this action by their parents.

        3.     Upon information and belief, defendants Hector Hoyos Aliff and MariaE.

Lopez are married and have constituted between them a community property partnership.

These codefendants reside at Calle J #1, Villa Caparra, Guaynabo, Puerto Rico.

        4.     Upon information and belief, codefendant Julio Avila is married to Jane Roe,

have constituted between them a community property partnership and reside at

Condominio Playa Blanca, Apt. 302, Carolina, Puerto Rico. At all relevant times, including

March 23, 2005, codefendant Julio Avila was an employee of codefendants Hector Hoyos

Aliff and/or Maria E. Lopez and/or Hoyos, Inc. and/or John Doe Corp.

       5.      Hoyos, Inc. and John Doe Corporation are a corporations owned and/or

controlled and/or alter egos of codefendant Hector Hoyos Aliff which may be liable to the

plaintiffs for the damages claimed in this action. Plaintiffs are unaware of the true name of

John Doe Corporation and, therefore, sue this defendant by such fictitious name. Plaintiffs

will amend this Complaint     to allege the true name and capacity when such has been

ascertained.


                                               -2-
                Case 3:06-cv-01301-DRD-JA Document 1 Filed 03/21/06 Page 3 of 6



                     6.      ABC, EFG and XYZ Insurance Companies are insurance companies which

              at the time of the events giving rise to the instant action had issued and inforce one or

               more insurance policies which provide coverage for the damages claimed herein.

                                  FACTS COMMON TO ALL CAUSES OF ACTION

          I          7.      On or about March 23, 2005 the four named plaintiffs embarked       on an ocean
          I
              voyage from Puerto Rico to and through the US and British Virgin Islands. The voyage
          I




     II
              took place aboard MN Sin Fin, as 55 Feet Viking motor vessel, and aboard MN Baby Sin
     II
     I,
     II Fin, a 20 feet Edgewater power boat, serving as a tender to MN Sin Fin. Plaintiffs Nelson
     II
     II Rodriguez Fernandez and Carmen Lydia Rexach Feliciano are, and were, at all relevant
     II
              times, the owners of the vessels described in this paragraph.
     II
     I!              8.     At all relevant times, codefendants      Hector Hoyos and Maria E. Lopez, and/or
     II
              Hoyos, Inc. and/or John Doe Corporation were the owners of MN Enterprise, a 67 feet
  II
  II pleasure craft and its tender TIT Enterprise, a 27 feet Edgewater power boat.
  II
  iI                 9.     On or about March 20, 2005 MN Enterprise, embarked on an ocean voyage
  Ii
  I!
  i i

              from Puerto Rico to and through the US and BritishVirgin Islands. Marine Vessel TIT
  II

 II           Enterprise,was part of the voyage and servedas tender to MN Enterprise. At all relevant
 ,I
 II
 II
 I!
    times during the voyage MN Enterprise and its tender were under the command of
 !I
              codefendant   Julio Avila, a licensed captain.
 II
 Ii! I
 II                  10.    On March 23, 2005 plaintiffs Michelle and Cristina Rodriguez, together with
 iI
 II
 II
              several friends, were aboard the Edgewater 20 TIT Sin Fin in waters off the coast of the
 II
 I!
 II           island of Virgin Gorda, British Virgin Islands. TIT Enterprise was following TIT Sin Fin.
 II
              Aboard TIT Enterprise were Michael and Ian Hoyos, sons of codefedant Hector Hoyos Aliff
I!
Ii

!I            and Maria E. Lopez. Also aboard TIT Enterprise were eight (8) other persons, including


!!
              codefendant Captain Julio Avila.
ii
                                                               -3-
i!
i!,i
IiI!
 Case 3:06-cv-01301-DRD-JA Document 1 Filed 03/21/06 Page 4 of 6



         11.     While traveling at a speed of close to 30 knots TIT Enterprise collided with

TIT Sin Fin. The bow of TIT Enterprise hit the rear starboard side of TIT Sin Fin, going

over said vessel with its hull and propeller and exiting through the rear port side of TIT Sin

Fin. The collision resulted in significant damage to the hull and engine of TIT Sin fin.

         12.     The collision described in the above paragraph was a result of the negligent

operation of TIT Enterprise. TIT Enterprise was traveling at an imprudent speed and its

captain and crew failed to exercise due care and seamanship while following and

attempting to overtake TIT Sin Fin.

                                     FIRST CAUSE OF ACTION
                                           (Maritime Tort)

         13.      Plaintiffs repeat and re allege, as if fully set forth herein, paragraphs 1.thru

12 of the Complaint.

         14.    As a result of the negligent operation of TIT Enterprise, which resulted in the

collision described above, co-plaintiff Michelle Rodriguez was impacted by the hull of TIT

Enterprise and suffered severe injuries and pain in her back, head, right arm and right

knee. As of the date of this Complaint, one year after the collision, Michelle presents a

scar across her back of over eight inches in length.

         15.    As a result the collision described above other passengers aboard TIT Sin

Fin also suffered injuries and bleeding including Michelle's sister Cristina, resulting in a

state of terror, caos and fear for the loss of life of those aboard TIT Sin Fin. This has

caused     co-plaintiff   Michelle   Rodriguez    profound   psychological    trauma    requiring

psychological treatment.

      16.       As a result of the physical and emotional injuries and traumas described

above Michelle Rodriguez claims damages in the amount of $500,000.00.



                                                 -4-
    iI
    ;I
    I'
                     Case 3:06-cv-01301-DRD-JA Document 1 Filed 03/21/06 Page 5 of 6
    iI
    II
    i       I
    II
                                                        SECOND CAUSE OF ACTION
    II
    I                                                         (Maritime Tort)
    I
    I
                           17.        Plaintiffs repeat and re allege, as if fully set forth herein, paragraphs 1 thru

            I       16 of the Complaint.
    II
    II                     18.        As a result of the negligent operation of TIT Enterprise,         which resulted in the
    '

    '1

    1




    !           I   collision described     above, co-plaintiff    Cristina Rodriguez     suffered     injuries to her left foot
    II
    '
                    and other parts of her body. Cristina witnessed TIT Enterprise impacting TIT Sin Fin and
            I


    Ii
    III I
                    causing injuriesto her sister Michelle and other passengers aboard said vessel, resulting
    II

    II              in a state of terror, caos and fear for the loss of life of those aboard TIT Sin Fin. This has
    II
    !I
    II caused co-plaintiff Cristina Rodriguez psychological trauma requiring psychological
     I
                    treatment.
    II
    I!
    Ii                     19.        As a result of the physical and emotional traumas described above Cristina
    II
    !I
    iiIi            Rodriguez claims damages in the amount of $350,000.00.
    !I
    II                                                   THIRD CAUSE OF ACTION
    II
    I!                                                      (Tort on the PR Code)
    II
    II
    '
                           20.        Plaintiffs repeat and re allege, as if fully set forth herein, paragraphs 1 thru

    I:      I       19 of the Complaint.

    I!                     21.        As a result of the collision described above co-plaintiffs Nelson Rodriguez
    I'II
                    and   Carmen        Rexach    witnessed       their   only   two   children      physically   injured   and
II
!i
                    psychologically      traumatized;    had to take their         injured   children      and other injured
I!
I!
                    passengers aboard TIT Sin Fin to a hospital in Tortola (BVI) in an attempt to seek
i

                    emergency treatment forthem. Subsequently,upontheir returnto Puerto Rico, Rodriguez
I!
I!
I:
I                   and Rexach have had to take their two only children to numerous physicians for diagnosis,
        J
I



i i

I!                  treatment and therapies fortheir physical and emotional injuries; have witnessed theirtwo
i;
i daughters in physical pain and suffering from anxiety and depression including trouble
        I
ii
I!
I


!I
i,
! !
                                                                          -5-
II
I!
/i
 Case 3:06-cv-01301-DRD-JA Document 1 Filed 03/21/06 Page 6 of 6



sleeping, waking up with nightmares and panic attacks. All of this has caused intense

mental pain, suffering, anxiety and depression to co-plaintiffs Nelson Rodriguez and

Carmen Rexach, for which they each claim the sum of $175,000.00 as damages.

       WHEREFORE it is respectfully requested that the present complaint be granted

and judgment be entered against defendants finding them jointly liable to the plaintiffs for

the damages claim herein, as well as for cost and attorney fees.

       RESPECTFULLY SUBMITTED.

       In Juan, Puerto Rico, this 21 st day of March, 2006.



                                          MUNOZ BONETA BENITEZ
                                          PERAL & BRUGUERAS
                                          P.O. Box 191979
                                          San Juan, P. R. 00919-1979
                                          Tel. (787) 751-9393
                                          Fax (787 )
                                                                     /2~/~~
                                                   ,/


                                          ENRfQUE PERAL
                                                        //
                                                             .. /'
                                                                     r;
                                                                     \   /
                                                                             /   -,



                                          USDC-PR No. 202802




                                             -6-
